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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                     §
                                           §
LINN ENERGY, LLC, et al.,                  §                Case No. 16-60040 (DRJ)
                                           §
         Debtors.                          §                               Chapter 11
                                           §
ENABLE MISSISSIPPI RIVER                   §
TRANSMISSION, LLC,                         §
                                           §
         Plaintiff,                        §
                                           §
v.                                         §                   Adversary No. 16-6017
                                           §
LINN ENERGY HOLDINGS, LLC, et al.,         §
                                           §
         Defendants.                       §

 PLAINTIFF’S EMERGENCY MOTION FOR LEAVE TO FILE SUR-REPLY BRIEF

     THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
     YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
     CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
     AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
     RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
     FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
     THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
     THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
     TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
     FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
     HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
     HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
     MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
     THE MOTION AT THE HEARING.

     REPRESENTED            PARTIES   SHOULD   ACT   THROUGH       THEIR
     ATTORNEY.

     EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
     CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
     WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
     THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
     EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
     FILE AN IMMEDIATE RESPONSE.
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       Plaintiff Enable Mississippi River Transmission, LLC (“Enable”), through its counsel,

respectfully submits this Emergency Motion for Leave (“Motion”) to file a short Sur-Reply in

Opposition to Defendants’ Motion to Dismiss. The Sur-Reply is attached as Exhibit A to this

Motion, and includes four pages of substantive argument. Enable seeks emergency consideration

of this Motion, as Enable believes the Sur-Reply would assist the Court in its determination. The

Sur-Reply addresses certain caselaw discussed in Defendants’ Reply to Opposition to Motion to

Dismiss (Dkt. 71), which was not cited or discussed in Defendants’ Motion to Dismiss (Dkt. 69).

A proposed order is attached for the Court’s convenience. Enable requests all further relief as the

Court deems just and proper.

Date: March 11, 2019                                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I certify that, on this March 11, 2019, a copy of the foregoing was served through the
Court’s Electronic Case Filing System to all parties who have entered an appearance in this
adversary proceeding, in accordance with Federal Rule of Bankruptcy Procedure 7005.


                                                   ________________________
                                                   Wyatt J. Dowling




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